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     STATE OF COLORADO                                                                             Jena M. Griswold
      Department of State                                                                          Secretary of State
    1700 Broadway, Suite 550                                                                       Christopher P. Beall
       Denver, CO 80290                                                                          Deputy Secretary of State




                                                                                                     November 18, 2021

        Logan Churchwell
        Research Director
        Public Interest Legal Foundation
        32 E. Washington Street, Suite 1675
        Indianapolis, Indiana 46204
        Email: lchurchwell@publicinterestlegal.org

                   RE: Response to NVRA notice dated August 20, 2021

        Dear Mr. Churchwell,

                 I write in response to your August 20, 2021 letter concerning the Colorado Secretary of
        State’s response to your June 24, 2021 records request under the National Voter Registration Act
        of 1993, 52 U.S.C. §§ 20501 et seq. (“NVRA”), which requires each state and the District of
        Columbia to make available for public inspection “all records concerning the implementation of
        programs and activities conducted for the purpose of ensuring the accuracy and currency of official
        lists of eligible voters.” 52 U.S.C. § 20507(i)(1).

                As you know, the Secretary of State responded to the June 24 request on August 18, 2021
        by providing you with a spreadsheet titled, “Cancelled_Deceased_2019_2021”, which contains all
        records that the Colorado Department of State (“CDOS”) uses to implement list maintenance
        activities for deceased voters and includes the unique voter identification numbers for such voters.
        Your August 20 letter acknowledged receipt of the spreadsheet.

                Nevertheless, your most recent letter reiterated the June 24 request for “[a]ll ‘ERIC Data’
        received from ERIC during the years 2019, 2020, and 2021 concerning registered voters identified
        as deceased or potentially deceased” 1 and “consent[ed], in this instance, to the redaction of all data
        elements contained in the Limited Access Death Master File (“LADMF”) and protected by 15
        C.F.R. § 1110 et seq., such as SSN dates of birth, SSN dates of death, SSN death locations, and
        full/partial SSN numbers.” 2 As explained in the June 24 request, “ERIC Data” is a term used in
        the Electronic Registration Information Center (“ERIC”) membership agreement to which
        Colorado is a party to describe “data included in reports provided by ERIC” to member states,
        including as relevant here certain data concerning deceased registrants.



        1
            Public Interest Legal Foundation (“PILF”) letter dated June 24, 2021 at Request 1.
        2
            PILF letter dated August 20, 2021 at p. 3.



Main Number           (303) 894-2200                                               TDD/TTY        (303) 869-4867
Administration        (303) 860-6900                                               Website
                                                                                                                  EXHIBIT D
                                                                                                  www.ColoradoSOS.gov
Fax                   (303) 869-4860                                               E-mail         administration@ColoradoSOS.gov
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            In short, CDOS responds to your reiteration of the initial request for ‘ERIC Data’ by noting
   that CDOS does not treat reports containing ERIC Data as its implementation of list maintenance
   activities for deceased voters, and therefore such reports are not required to be maintained or
   produced for public inspection under § 20507(i)(1) of the NVRA. Rather, as explained below,
   CDOS obtains and evaluates data from a variety of sources, including but not limited to ERIC
   Data, and then creates and maintains its own record “showing all the registrants removed from the
   list of eligible voters for reasons of death for the years 2019, 2020, and 2021” 3 that is used to
   actually implement list maintenance activities for deceased voters. This is all maintained in the
   statewide voter registration system (“SCORE”), which is the source of the
   “Cancelled_Deceased_2019_2021” spreadsheet that was provided to you on August 18.

           Each month, CDOS receives a deceased voter list created by ERIC based on a comparison
   of data sources that ERIC obtains from a variety of sources, including but not limited to the state
   voter registration list and the LAMDF created by the Social Security Administration, that is
   weighted based on the matching criteria in Colorado law 4 provided to ERIC. Following that
   comparison and matching process each month, ERIC sends a file to CDOS listing those registrants
   that ERIC believes are deceased and therefore eligible for cancellation. These data, in conjunction
   with data imported into SCORE from other sources, make up the list maintenance record that
   CDOS relies on. The voter-specific information concerning deceased voters was presented in the
   spreadsheet CDOS provided to you. The only information included in the final list maintenance
   record that CDOS creates and provides to each county is the minimum information necessary to
   implement cancellation of deceased voters’ records.

           CDOS only maintain copies of the deceased voter lists received from ERIC for a few
   months. In contrast, the final list maintenance record that CDOS creates and provides to each
   county for the purpose of implementing cancellation of deceased voters records is maintained
   permanently after processing in the statewide voter registration database. As explained above, that
   record for the years specified in the June 24 request is the “Cancelled_Deceased_2019_2021”
   spreadsheet that was provided to you on August 18. CDOS has therefore fully complied with its
   NVRA obligations in responding to that request and has no further records responsive to either it
   or the August 20 request.


   Sincerely,


   Christopher P. Beall
   Deputy Secretary of State




   3
       PILF letter dated June 24, 2021 at Request 2.
   4
       Sections 1-2-604 and 1-2-605, C.R.S.; see also Election Rule 2.7.



                                                                                             EXHIBIT D
